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Fax #530-7195

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CaSe NO.95-595-CR-RYSKAMP

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U'NITED STATES OF AMERICA, .>§>_f_ § il
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VS. o §§

MARIO AGUDELO,

Defendant.

 

SATISFACTION OF JUDGMENT

The fine amount of $2,000.00.and the special assessment of

$50.00 having been paid in full, the Clerk for the Southern

District of Florida is hereby authorized and empowered to cancel

said judgment of record.

Respectfully Submitted,

GUY A. LEWIS
UNI D STATES ATTORNEY

    

Date: 25/ ZO 7/ By: Elizabet;h Ruf Stein

Assistant U.S. Attorney

This Instrument Was Prepared By: Elizabeth Ruf Stein

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Miami, Florida 33132
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Bar No.354945

